       Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 1 of 7




 1    Kevin Fallon McCarthy (#011017)
      Jacob W. Hippensteel (#032713)
 2
      Michael D. Adams (#035190)
 3    Michael.adams@mccarthylawyer.com
      McCarthy Law PLC
 4    4250 N. Drinkwater Blvd., Ste. 320
      Scottsdale, Arizona 85251
 5    Phone: 602-456-8900
 6
      Fax: 602-218-4447
      Attorneys for Plaintiff
 7

 8                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF ARIZONA
 9

10
       Jeannette Cota,                                      Case No.:
11
                 Plaintiff,
12

13     v.                                                                COMPLAINT

14     Pennsylvania Higher Education Assistance
       Agency dba FedLoan Servicing; and Experian
15     Information Solutions, Inc.
16
                 Defendants.
17

18

19
                                                INTRODUCTION
20
            1.        This is an action brought by an individual consumer for violations of the Fair Credit
21
     Reporting Act (“FCRA”), 15 U.S.C. § 1681 et seq.
22
                                          JURISDICTION AND VENUE
23

24          2.        This Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681p, 15 U.S.C.

25   and 28 U.S.C. § 1331.

26          3.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and as the Plaintiff
27
     resides in and the injury occurred in Pinal County, Arizona and Defendants do business in Arizona.
28

                                                        1                                       Complaint
       Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 2 of 7




            4.      Personal Jurisdiction exists over Defendants as Plaintiff resides in Arizona,
 1

 2   Defendants have the necessary minimum contacts with the state of Arizona, and this suit arises out

 3   of specific conduct with Plaintiff in Arizona.

 4                                                 PARTIES
 5
            5.      Plaintiff is, and was at all times hereinafter mentioned, a resident of the County of
 6
     Pinal, Arizona.
 7
            6.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C. § 1681a(c).
 8

 9          7.      Defendant, Experian Information Solutions, Inc., (“Experian”) is a credit reporting
10   agency, licensed to do business in Arizona.
11          8.      Defendant Experian is, and at all times relevant hereto were, regularly doing
12   business in the State of Arizona.
13          9.      Experian is regularly engaged in the business of assembling, evaluating, and
14   disbursing information concerning consumers for the purpose of furnishing consumer reports, as
15   defined in 15 U.S.C. §1681(d), to third parties.
16          10.     Experian furnishes such consumer reports to third parties under contract for
17   monetary compensation.
18          11.     At all times pertinent hereto, Defendant Experian was a “person” and “consumer
19   reporting agency” as those terms are defined by 15 U.S.C. §1681a(b) and (f).
20          12.     Pennsylvania Higher Education Assistance Agency dba FedLoan Servicing
21   (“FLS”) is a furnisher of consumer credit information to consumer reporting agencies.
22                          FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
23          13.     Plaintiff is a consumer who is the victim of inaccurate reporting by Defendant FLS
24   and Experian and has suffered particularized and concrete harm.
25          14.     Experian is one of the largest consumer reporting agencies (“CRAs”) as defined
26   by 15 U.S.C. §1681(a)(f).
27          15.     The CRAs’ primary business is the sale of consumer reports (commonly referred
28   to as “credit reports”) to third parties and consumers.

                                                        2                                     Complaint
       Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 3 of 7




 1          16.     Experian has a duty, under the FCRA, to follow reasonable procedures to ensure
 2   that the consumer reports they sell meet the standard of “maximum possible accuracy.” 15 U.S.C.
 3   §1681e(B).
 4          17.     Plaintiff discovered an FLS account, account number beginning 1051695066***
 5   (the “Account”) being reported in error – specifically the Account is reporting with a balance past
 6   due after the Account was settled and paid in full by Plaintiff.
 7          18.     Despite receiving the full benefit of settlement on the Account, FLS continues to
 8   report a balance past due on Plaintiff’s consumer credit reports.
 9          19.     The false information regarding the Account appearing on Plaintiff’s consumer
10   reports harms the Plaintiff because it does not accurately depict Plaintiff’s credit history and
11   creditworthiness.
12          20.     The inaccurate Account has become a permanent component of the Plaintiff’s
13   credit profile and is reported to those who ask to review the credit history of Plaintiff.
14          21.     Experian published the false information regarding Plaintiff to third parties.
15                                            WRITTEN DISPUTE
16
            22.     Plaintiff sent a written dispute letter to Experian (the “Dispute”), disputing the
17
     inaccurate information regarding the Account showing on Plaintiff’s consumer reports.
18
            23.     Experian failed to conduct an investigation, contact Plaintiff, contact third-parties,
19
     or review underlying account information with respect to the disputed information and the
20
     accuracy of the disputed information.
21
            24.     Experian employed an investigation process that was not reasonable and did not
22
     remove the false information identified in Plaintiff’s Dispute.
23
            25.     At no point after receiving the Dispute did Defendants communicate with Plaintiff
24
     to determine the veracity and extent of Plaintiff’s Dispute.
25
            26.     Experian relied on its own judgment and the information provided to it by FLS,
26
     rather than grant credibility to the information provided by Plaintiff.
27

28

                                                       3                                          Complaint
       Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 4 of 7




 1                                           COUNT I – EXPERIAN
 2                    FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681e(b)
 3             27.   Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth
 4   herein.
 5             28.   After receiving the Dispute, Experian failed to correct the false information
 6   regarding the Account reporting on Plaintiff’s consumer reports.
 7             29.   Experian violated 15 U.S.C. §1681e(b) by failing to establish or to follow
 8   reasonable procedures to assure maximum possible accuracy in the preparation of the credit
 9   reports and credit files published and maintained concerning Plaintiff.
10             30.   As a result of this conduct, action and inaction of Experian Plaintiff suffered
11   damage, and continues to suffer, actual damages, including economic loss, damage to reputation,
12   emotional distress, and interference with Plaintiff’s normal and usual activities for which Plaintiff
13   seeks damages in an amount to be determined by the trier of fact.
14             31.   Experian’s conduct, action, and inaction was willful, rendering Experian liable to
15   Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.
16             32.   In the alternative, Experian was negligent, entitling Plaintiff to recover damages
17   under 15 U.S.C. §1681o.
18             33.   Plaintiff is entitled to recover costs and attorneys’ fees from Experian pursuant to
19   15 U.S.C. §1681n and/or §1681o.
20                                          COUNT II – EXPERIAN
21                     FAIR CREDIT REPORTING ACT VIOLATION – 15 U.S.C. §1681(i)
22             34.   Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth
23   herein.
24             35.   After receiving the Dispute, Experian failed to correct the false information
25   regarding the Account reporting on Plaintiff’s consumer reports.
26

27

28

                                                       4                                         Complaint
       Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 5 of 7




 1             36.   Experian violated 15 U.S.C. §1681i by failing to delete inaccurate information in
 2   Plaintiff’s credit files after receiving actual notice of such inaccuracies, by failing to conduct
 3   lawful reinvestigations, by failing to maintain reasonable procedures with which to filter and
 4   verify disputed information in Plaintiff’s credit files, and by failing to provide Plaintiff with a
 5   description of its procedures used to determine the accuracy and completeness of the disputed
 6   information.
 7             37.   As a result of this conduct, action and inaction of Experian, Plaintiff suffered
 8   damage, and continues to suffer, actual damages, including economic loss, damage to reputation,
 9   emotional distress and interference with Plaintiff’s normal and usual activities for which Plaintiff
10   seeks damages in an amount to be determined by the trier of fact.
11             38.   Experian’s conduct, action, and inaction was willful, rendering Experian liable to
12   Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.
13             39.   In the alternative, Experian was negligent, entitling Plaintiff to recover damages
14   under 15 U.S.C. §1681o.
15             40.   Plaintiff is entitled to recover costs and attorneys’ fees from Experian pursuant to
16   15 U.S.C. §1681n and/or §1681o.
17                                            COUNT III – FLS
18                     (Fair Credit Reporting Act Violation – 15 U.S.C. §1681s-2(b))
19             41.   Plaintiff re-alleges and reaffirms the above paragraphs as though fully set forth
20   herein.
21             42.   After receiving the Dispute, FLS failed to correct the false information regarding
22   the Account reporting on Plaintiff’s consumer report.
23             43.   Defendant violated 15 U.S.C. §1681s-2(b) by failing to fully and properly
24   investigate Plaintiff’s disputes of Defendant FLS’s representations; by failing to review all
25   relevant information regarding Plaintiff’s disputes; by failing to accurately respond to credit
26   reporting agencies; by verifying false information; and by failing to permanently and lawfully
27   correct its own internal records to prevent the re-reporting of Defendant FLS’s representations to
28   consumer credit reporting agencies, among other unlawful conduct.

                                                       5                                        Complaint
       Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 6 of 7




 1           44.      As a result of this conduct, action, and inaction of Defendant FLS, Plaintiff
 2   suffered damages, and continues to suffer, actual damages, including economic loss, damage to
 3   reputation, emotional distress, and interference with Plaintiff’s normal and usual activities for
 4   which Plaintiff seeks damages in an amount to be determined by the trier of fact.
 5           45.      Defendant FLS’s conduct, action, and inaction was willful, rendering Defendant
 6   liable to Plaintiff for punitive damages pursuant to 15 U.S.C. §1681n.
 7           46.      In the alternative, Defendant FLS was negligent, entitling Plaintiff to recover
 8   damages under 15 U.S.C. §1681o.
 9           47.      Plaintiff is entitled to recover costs and attorney’s fees from Defendant FLS
10   pursuant to 15 U.S.C. §1681n and/or 15 U.S.C. §1681o.
11
                                             DEMAND FOR JURY TRIAL
12

13        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands trial by jury in

14   this action of all issues so triable.

15                                             PRAYER FOR RELIEF
16
             WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendants for
17
     willful noncompliance of the Fair Credit Reporting Act and seeks remedies as defined by 15 U.S.C.
18
     § 1681 and demands:
19
             1.       Actual damages to be proven at trial, or statutory damages pursuant to 15 U.S.C. §
20

21   1681n(a)(1)(A), of not less than $100 and not more than $1,000 per violation;

22           2.       Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for each Defendant’s willful
23   violation;
24
             3.       The costs of instituting this action together with reasonable attorney’s fees incurred
25
     by Plaintiff pursuant to 15 U.S.C. § 1681n(a)(3); and
26
             4.       Any further legal and equitable relief as the court may deem just and proper in the
27

28
     circumstances.

                                                        6                                        Complaint
      Case 2:23-cv-02292-DGC Document 1 Filed 11/03/23 Page 7 of 7




     Dated: November 3, 2023
 1

 2
                                    /s/ Michael D. Adams
 3                                  Michael D. Adams
                                    McCarthy Law, PLC
 4                                  4250 North Drinkwater Blvd, Suite 320
                                    Scottsdale, AZ 85251
 5
                                    Telephone: (602) 456-8900
 6                                  Fax: (602) 218-4447
                                    Attorney for Plaintiff
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                         7                                  Complaint
